                                    ATTACHMENT 1




                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO




                                         )            CASE NO.
                                         )
      Plaintiff,                         )            JUDGE JAMS S. GWIN
                                         )
vs.                                      )            REPORT OF PARTIES’
                                         )            PLANNING MEETING UNDER
                                         )            FED. R. CIV. P. 26(f) AND
      Defendant.                         )            LR 16.3(b) and 23.1)
                                         )            (For Use in Putative Class Actions)




      1) Pursuant to Fed. R. Civ. P. 26(f) and LR 16.3(b) and 23.1, a meeting was held on

______________________________, 20__, and was attend by:

_______________________________Counsel for plaintiff(s)____________________________

_______________________________Counsel for plaintiff(s)____________________________

_______________________________Counsel for defendants(s)__________________________

_______________________________Counsel for defendant(s)___________________________




      2) The following motions are pending:

      __     Motion to Dismiss (Dates filed_____; Opposed_____; Reply_____)

      __     Motion to Remand (Dates filed_____; Opposed_____; Reply_____)


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       __      Other: __________________________________________________________




       3) The parties:

_____ have exchanged the pre-discovery disclosures required by Rule 26(a)(1);

_____ will exchange such disclosures by ______________________________, 20__;

_____ object that initial disclosures are not appropriate in this action.




       4) The parties recommend the following track:

_____Expedited           _____Standard         _____ Complex           _____Mass Tort




       5) This case is suitable for one or more of the following Alternative Dispute Resolution

(“ADR”) mechanisms:

_____Early Neutral Evaluation          _____Mediation          _____Arbitration

_____Summary Jury Trial                _____Summary Bench Trial

_____Case Not Suitable for ADR




       6) Recommended cut-off date for amending the pleadings (including proposed class

definition) and/or adding additional parties:_________________________




       7) The parties _____do/_____do not consent to the jurisdiction of the United States

Magistrate Judge pursuant to 29 U.S.C. §636(c).




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8) Recommended Case Management Plan:

The parties recommend:

___   Discovery on issues related to remand be completed by_______________

___   Plaintiff(s) Response Brief due:_______________________________

___   Defendant(s) Reply Brief due:_________________________________

___   Discovery relevant to appropriateness of certification of the proposed class be

      completed by:_________________________________, including:

      plaintiff(s) deposition by:_______________________________________

      defendant(s) 30(b) depositions by:________________________________

      plaintiff(s) expert reports by:_____________________________________

      defendant(s) expert reports by:____________________________________

      expert depositions by:____________________________________________

___   Plaintiff(s) motion for class certification to be filed by:__________________

___   Defendant(s) opposition to motion for class certification to be filed

      by:___________________________________________________________

___   Daubert hearing date, if any:_______________________________________

___   Class certification hearing date:_____________________________________




9) Recommended dispositive motion date, if any:______________________________




10) Recommended date for Status Hearing:___________________________________




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      11) Other matters for the attention of the Court:________________________________

____________________________________________________________________________

____________________________________________________________________________

                                        ________________________________________
                                        Attorney for Plaintiff(s)

                                        ________________________________________
                                        Attorney for Plaintiff(s)

                                        ________________________________________
                                        Attorney for Defendant(s)

                                        ________________________________________
                                        Attorney for Defendant(s)




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